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                                                                                                                 EXHIBIT
                             Shauna Gciaglily <sliauna@lalkdcsk.com> on behalf of
                             Sliauna Gciaghty <shauna@talkdcsk.com>                                                  20
            Sent:            Monday, September 10, 2018 2:29 FM
            To:              Ralph Manno <Ralph Manno <ralph.manno@gmail.com»
            Cc:              Mike Strahan <Mlke Strahan <mgstrahan@gmail.com»
            Subject:         Re: Mike Tews feedback


           We can use "Enterprise Account Executive". We can update the thread once Mike verbally accepts.
          Thanks team!


          On Mon,Sep 10,2018 at 1:14 PM Ralph Manno <raloh.manno@gmail.com> wrote:

            1 think Account Executive is what we are using Mike! Shauna can correct me if I'm wrong, but go
            ahead and submit it.


          On Mon,Sep 10, 2018 at 2:21 PM Mike Strahan <mgstrahan@gmail.com> wrote:

             I'll get the request in this afternoon. Shauna, what is the official title for the position we are offering
             Mike Tews?
             Thanks!


          -Mike
          317-418-9335


          On Mon,Sep 10,2018 at 11:48 AM Ralph Manno <ra 1 nh.manno@gmai1.com> wrote:

              I'm okay with 90/90.

          On Mon,Sep 10, 2018 at 10:44 AM Mike Strahan <mgstrahan@gmail.com> wrote:

               He's on a $85 / S126 plan now, he might be tough to move at $87.5/$87.5. Can we tiy $90/S90?
               He'll have a lower quota here which should help on the OTI.
               Thanks!


          -Mike


          On Mon, Sep 10,2018 at 11:39 AM Ralph Manno <ralDh.manno@.gmail.com> wrote:

               Thanks Shauna,
               The equity sounds fair and 1 was thinking of a 87,500/87,500 plan.

          Mike?


          On Mon,Sep 10, 2018 at 9:55 AM Shauna Geraghty <shauna@talkdesk.com> wrote:

                  Thanks Ralph and Mike for the feedback.
                  The only additional concern is that he has fewer years of closing experience than some of our
                  Commercial II reps (Hillary, Eric and Cole) but 1 understand the justification for including him




AHORNEYS EYES ONLY                                                                                                         TD 002528
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                 on the enterprise team. 1 will meet with i .isa this week to discuss a plan to optimize leveling
                 across groups.


           Attached is the offer process for hiring managers. Please send the "Request for Approval" email to
                 fpa@talkdesk.com. Shauna, Tiago and department head (Ralph) with the candidate's name,
                 compensation package (base, OTB, bonus, equity), start date, hiring manager name, title,
                 personal email, location and Linkedin.

          1 agree with Ralph that his base and variable should be lower than Danielle's. For equity I would
                 suggest 1,500 options.

          Please let me know if you have any additional questions or .suggestions.

          Shauna


          On Fri, Sep 7,2018 at 6:27 PM Ralph Manno <ralph.manno@gmail.com> wrote:

                   My thoughts are he is not going to be nearly as polished as Danielle, Terry or Stephen, but his
                   pay will also help us balance out the more costly reps and he will prospect without hesitation. It
                   will be Mike and my job to devclope his skill .set and provide coaching.

          Mike also builds tremendous relationships and his customers/prospects rave about him.

          I'm happy to jump on a call next week with Mike S. and discuss next steps to alleviate concerns and get
                 a go/no go from the team.

          Please let us know.


          Thanks much!


          On Fri, Sep 7, 2018 at 7:26 PM Mike Strahan <mgstrahan@gmail.com> wrote:

                     Thanks Shauna!
                     I watched Mike's video, he did come across a little awkward. He seemed uncomfortable with
                     the format, as we never use video within our team. Despite the awkwardness Mike would be a
                     great hire for this team. He is a plug and play account executive, knows the territory and
                     partners, and is a fearless prospector. 1 originally hired Mike from Avaya 18 months ago and
                     have been in the field with him a dozen times and he has always come across as confident and
                     knowledgeable in person. His speaking skills do require some polish, as he is not someone I
                     would have get on stage and do a 30 slide, 60 minute presentation, today. I have seen him
                     present and close business in a traditional boardroom, and have 100% confidence in him in
                     that setting.

          Some other details on Mike:


                          • YTD Mike has generated $1.1M in his territory for Genesys and is at -80% of his
                          annual quota YTD.
         • Mike is #2 on the Mid-Market team nationwide for revenue.
         • Mike sold our second largest deal this year. Varsity Tutors. This customer regularly praises Mike to




AHORMEYS EYES ONLY                                                                                                      TD 002529
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                             me.

          • 1 le has done all of this with the company's lowest graded sales engineer resource supporting him.
          • I le has done all of this with what was a lukewarm territory where his predecessor only reached 35%
                             quota.

                      Getting Mike would be a win for Talkdesk and a loss for Genesys.

          I hope this helps, please let me know if you get any further feedback or if you have any other questions.

          Thanks!


          -Mike
          317-418-9335



          On Fri, Scp 7, 2018 at 6:45 PM Shauna Geraghty <shauna@taIkdesk.com> wrote:

                      Team,
                      We interviewed Mike today and would like to provide an update. We had some concerns
                      about his presentation (missed the mark on a few prompts, appeared anxious and distracted).

          Mere is the preso:
          .zoom_0.mp4
          Wc value your insight on referrals and would love your thoughts prior to moving to next steps.

          Thanks!


          Shauna



                      Shauna Geraghty

                      Head of Talent


                      530-574-1446


                      535 Mission Street. 12th Floor.


                      San Francisco. CA 94105. USA


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          ■f hanks!


          -iMike




AnORNEYS EYES ONLY                                                                                                    TO 002530
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           Ralpli
           314-537-7070




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           Ralph
           314-537-7070




           Thanks!


           -Mike



           Ralph
           314-537-7070




          Thanks!


          -Mike




          Ralph
          314-537-7070




           Shauna Geraghty

            Head of Talent




ATTORNEYS EYES ONLY                                                                      TO 002531
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